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     DD INDEPENDENT
18   FRANCHISE OWNERS ASSOCIATION

19
                          UNITED STATES DISTRICT COURT
20                      SOUTHERN DISTRICT OF CALIFORNIA
21
22   INTERNATIONAL FRANCHISE                   CASE NO. 3:20-CV-02243-BAS-DEB
23   ASSOCIATION, ASIAN AMERICAN
     HOTEL OWNERS ASSOCIATION,                 FIRST AMENDED COMPLAINT
24   SUPERCUTS FRANCHISEE                      FOR DECLARATORY AND
25   ASSOCIATION, and the DD                   INJUNCTIVE RELIEF
     INDEPENDENT FRANCHISE OWNERS
26   ASSOCIATION,
27
                         Plaintiffs,
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  1                 v.

  2   STATE OF CALIFORNIA; MATTHEW
  3   RODRIQUEZ, IN HIS OFFICIAL
      CAPACITY AS ACTING ATTORNEY
  4   GENERAL FOR THE STATE OF
  5   CALIFORNIA; JULIE SU, IN HER
      OFFICIAL CAPACITY AS LABOR
  6   COMMISSIONER OVER THE DIVISION
  7   OF LABOR STANDARDS
      ENFORCEMENT; LILIA GARCIA-
  8   BOWER, LABOR COMMISSIONER OF
  9   THE CALIFORNIA DEPARTMENT OF
      INDUSTRIAL RELATIONS; KATIE
 10   HAGEN, DIRECTOR OF THE
 11   DEPARTMENT OF INDUSTRIAL
      RELATIONS; and PATRICK HENNING,
 12   DIRECTOR OF THE EMPLOYMENT
 13   DEVELOPMENT DIVISION,

 14                              Defendants.
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 16
                    Plaintiffs, the International Franchise Association (the “IFA”), the Asian
 17
      American Hotel Owners Association (“AAHOA”), the Supercuts Franchisee
 18
      Association (“SFA”) and the DD Independent Franchise Owners Association
 19
      (“DDIFO”), as and for their First Amended Complaint against Defendants, allege as
 20
      follows:
 21
                                            INTRODUCTION
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                    1.    The IFA, AAHOA, SFA and DDIFO (collectively, “Plaintiffs”) bring this
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      lawsuit to enforce their federal rights as provided by federal statute and guaranteed
 24
      by the Supremacy Clause, Commerce Clause, Fifth Amendment, and Fourteenth
 25
      Amendment of the United States Constitution. This lawsuit addresses California’s
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      new test for determining whether a worker is an employee or independent contractor,
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      as interpreted by the California Supreme Court in Dynamex Operations West, Inc. v.
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  1   Superior Court, 4 Cal. 5th 903 (2018) (“Dynamex”) and subsequently codified by the
  2   California Legislature through Assembly Bill 5 (“AB-5”) and Assembly Bill 2257
  3   (“AB-2257”) as Cal. Labor Code § 2775(b)(1) (“California’s ABC Test”). The
  4   Plaintiffs seek declaratory and injunctive relief prohibiting Defendants from applying
  5   California’s ABC Test to disrupt the relationship between franchisors and franchisees
  6   (as those terms are defined under 16 C.F.R. § 436.1(i) and (k)).
  7                 2.   Franchising has “existed in this country in one form or another for over
  8   150 years” (Patterson v. Domino’s Pizza, LLC, 60 Cal. 4th 474, 489 (2014)), and,
  9   more recently, has “become a ubiquitous” and “thriving business model.” Id. at 477.
 10   Under this business model, the franchisor, “sells the right to use its trademark and
 11   comprehensive business plan” to franchisees who “independently own[], run[], and
 12   staff[] the retail outlet that sells goods under the franchisor's name.” Id.
 13                 3.   Franchised businesses currently operate in more than a hundred different
 14   business sectors. In addition to industries in which franchising has long been
 15   prevalent, such as automotive repairs and services, hotels and motels, quick-service
 16   and full-service restaurants, tax preparation businesses and real estate brokerages,
 17   franchised industries also include, among many others, home health care and senior
 18   care, home repair and remodeling, package shipping, hair care, fitness, financial
 19   services, childcare, tutoring, and swim schools.
 20                 4.   The entities that choose to operate franchised businesses are as varied as
 21   the types of businesses that have chosen to franchise their business models. While a
 22   large segment of franchisees are individual entrepreneurs seeking to own and operate
 23   their first business, many franchisees have grown into immense operations with tens
 24   of thousands of employees and hundreds of locations. Many operate multiple brands.
 25   Still other franchisees are public companies. In light of its enormous growth,
 26   franchising has a profound effect on the economy, both nationally and in the State of
 27   California. In 2019, in California alone, there were more than 82,600 independently
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  1   owned and operated franchised businesses. These franchised businesses collectively
  2   generated more than $82.9 billion in economic output.
  3                 5.   Further, franchisees are significant job creators in their communities. In
  4   2019, franchisees in this State employed almost 827,000 people, and collectively
  5   generated $35.3 billion in payroll.
  6                 6.   Franchisors and franchisees share the common goals of success and
  7   survival. Matters which restrict or undermine franchisors will invariably have an
  8   equal or greater detrimental effect on franchisees (who rely heavily on the franchisor’s
  9   brand and systems for operation) and the nearly 827,000 people employed by
 10   franchised businesses in this State.
 11                 7.   Franchising offers a wide array of individuals the opportunity to develop,
 12   own, and operate their own businesses and, as such, franchising represents for many
 13   Americans a piece of the American Dream. This is especially true for those whose
 14   education level or other characteristics could pose barriers in other industries.
 15                 8.   The franchise business model is based upon a franchisor granting a
 16   franchisee the right to operate a business following a “system prescribed in substantial
 17   part by the franchisor,” which “must be substantially associated with” a “commercial
 18   symbol designating the franchisor,” in exchange for a franchise fee. “When Does an
 19   Agreement Constitute a Franchise?” California Department of Corporations, Release
 20   3-F (June 22, 1996) (“Release 3-F”), reprinted at Bus. Franchise Guide (CCH) ¶
 21   5050.45 (June 22, 1996).
 22                 9.   While such arrangements are ubiquitous today, their development was
 23   impeded by legal restrictions for many years. Historically, trademarked goods were
 24   viewed as identifying the source of products, so that consumers would know which
 25   company had actually placed them into commerce. Licensing a company other than
 26   the trademark owner to distribute trademarked products was considered a deceptive
 27   practice, because consumers would be misled as to the source of the products.
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  1                 10.   In Macmahan Pharmacal Co. v. Denver Chem. Mfg. Co., 113 F. 468,
  2   474-75 (8th Cir. 1901), for example, the plaintiff had licensed others to use its
  3   “antiphlogistine” trademark, but the Eighth Circuit held that a “trade-mark cannot be
  4   assigned or its use licensed. . . .” Because the licensor had deceived the public about
  5   the source of its product by allowing a licensee to distribute products bearing its
  6   antiphlogistine trademark, any legal right to injunctive relief had been forfeited.
  7                 11.   Following the same logic, the licensor of the “National” sewing machine
  8   brand could not collect agreed-upon royalties because it had no legal right to license
  9   others to distribute products unless it had actually participated in their production.
 10   Lea v. New Home Sewing Mach. Co., 139 F. 732 (C.C.E.D.N.Y. 1905). See also
 11   Dawn Donut Co. v. Hart’s Food Stores, Inc., 267 F.2d 358, 366 (2d Cir. 1959) (“Prior
 12   to the passage of the Lanham Act many courts took the position that the licensing of
 13   a trademark separately from the business in connection with which it had been used
 14   worked an abandonment.”).
 15                 12.   The Trademark Act of 1905 was consistent with the common law and
 16   did not grant trademark owners the right to assign the use of their trademarks to
 17   others.1 Just after World War II, Congress passed the Trademark Act of 1946, known
 18   as the Lanham Act.2 Although the term “licensing” was not used in the Lanham Act,
 19   a trademark owner was given the right to license a trademark to a “related company.”3
 20   A “related company” was one “who legitimately controls or is controlled by the
 21
 22   1
       See Rogers, The Lanham Act & the Social Function of Trademarks, 14 Law &
 23   Contemp. Probs. 173, 180 (1949); Getty Petroleum Corp. v. Bartco Petroleum
      Corp., 858 F.2d 103 (2d Cir. 1988).
 24
      2
 25       15 U.S.C. § 1051 et seq.
 26   3
       Lanham Act, 15 U.S.C. §§ 1051-1127. Further terms were added to the statute in
      1988.
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  1   registrant or applicant for registration in respect to the nature and quality of the goods
  2   or services in connection with which the mark is used.”4
  3                 13.   Addressing concerns that the public might be deceived as to the source
  4   of trademarked products, “the Lanham Act places an affirmative duty upon a licensor
  5   of a registered trademark to take reasonable measures to detect and prevent
  6   misleading uses of his mark by his licensees or suffer cancellation of his federal
  7   registration.” Dawn Donut, 267 F.2d at 366.5
  8                 14.   After the passage of the Lanham Act, an infringing user of the “Dawn”
  9   brand on bakery goods counter-claimed to cancel the trademark owner’s registration
 10   of the Dawn mark, claiming the mark had been abandoned when others had been
 11   licensed to use it. The counter-claim would have been viable under prior law. The
 12   Second Circuit upheld the trademark owner’s legal right to license the use of the mark
 13   under the Lanham Act, as long as “the plaintiff sufficiently policed and inspected its
 14   licensees’ operations to guarantee the quality of the products they sold under its
 15   trademarks to the public.” Id. at 367. The Second Circuit upheld the right to license
 16   a trademark, but ultimately disagreed as to whether the specific quality control
 17   inspections conducted by the trademark owner had been sufficiently rigorous. Id. at
 18   366-67.
 19                 15.   Under the Lanham Act, a trademark owner may license the use of its
 20   mark but must exercise control over its licensees’ use of the mark. A “registrant’s
 21   mark may be canceled if the registrant fails to control its licensees’ use of the licensed
 22   mark.” In re Mini Maid Services Co. v. Maid Brigade Systems, Inc., 967 F.2d 1516,
 23   1519 (11th Cir. 1992). Where a licensor fails to “exercise adequate quality control
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      4
          15 U.S.C. § 1127 (emphasis added).
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      5
 26       See also 3 McCarthy on Trademarks and Unfair Competition § 18:38 (5th ed.).
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  1   over the licensee,” “a court may find that the trademark owner has abandoned the
  2   trademark.” FreecycleSunnyvale v. Freecycle Network, 626 F.3d 509, 516 (9th Cir.
  3   2010). Quality control must be sufficient to ensure that “all licensed outlets will be
  4   consistent and predictable.” Barcamerica, Int’l USA Trust v. Tyfield Importers, Inc.,
  5   289 F.3d 589, 598 (9th Cir. 2002).
  6                 16.   In 1950, just after the adoption of the Lanham Act, there were still fewer
  7   than 100 franchised systems in the United States, but—as the FTC has noted—
  8   franchising experienced “explosive growth” thereafter.6 By 1965, there were 1,200
  9   franchise systems with 350,000 outlets.7 In 2010, the United States Census Bureau
 10   released its first-ever comprehensive report for franchised business. Patterson v.
 11   Domino’s Pizza, LLC, 60 Cal. 4th 474, 489, fn. 13 (2014). Franchises accounted for
 12   10.5 percent of businesses with paid employees in the 295 industries in which data
 13   was collected. Id. Franchised businesses also accounted for almost $1.3 trillion out
 14   of the $7.7 trillion in total sales for these industries, $153.7 billion out of the $1.6
 15   trillion in total payroll, and 7.9 million workers out of a total workforce of 59 million.
 16   Id.
 17                 17.   Franchising is also a statutorily recognized and permissible method of
 18   doing business. Without exception, all of the statutes that regulate franchising
 19   recognize that the relationship between a franchisor and its franchisees is a
 20   commercial relationship, not an employment relationship. Importantly, the Federal
 21   Trade Commission (“FTC”), which authorizes and regulates the sale of franchises in
 22   the United States, defines a “franchise” in part as “any continuing commercial
 23   relationship or arrangement” whereby the franchisor promises that the franchisee
 24   “will obtain the right to operate a business that is identified or associated with the
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 27       FTC Statement of Basis and Purpose, Bus. Franchise Guide (CCH) ¶ 6302.
      7
          Id.
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  1   franchisor’s trademark ....” 16 C.F.R. § 436.1(h)(1). (16 C.F.R. § 436 et seq. is
  2   hereinafter the “Franchise Rule”).
  3                 18.   While the FTC Franchise Rule does not govern the relationship between
  4   a franchisor and a franchisee once a franchise agreement has been executed, it
  5   specifically defines which relationships constitute “franchises” under federal law.
  6   The FTC Franchise Rule defines a “franchise” as “any continuing commercial
  7   relationship or arrangement, whatever it may be called, in which the terms of the offer
  8   or contract specify, or the franchise seller promises or represents, orally or in writing,
  9   that ... [t]he franchisor will exert or has authority to exert a significant degree of
 10   control over the franchisee’s method of operation, or provide significant assistance in
 11   the franchisee's method of operation.” 16 C.F.R. § 436.1(h)(2) (emphasis added).
 12                 19.   Likewise, the FTC Franchise Rule requires that a franchisee receive from
 13   the franchisor “the right to operate a business that is identified or associated with the
 14   franchisor’s trademark, or to offer, sell, or distribute goods, services, or commodities
 15   that are identified or associated with the franchisor's trademark.” 16 C.F.R. § 436.1.
 16                 20.   These controls, however, are not just intended to protect a franchisor’s
 17   system or the value of its trademarks. Because “uniformity of product and control of
 18   its quality cause the public to turn to [the] franchise[d] [business]” (Burger King Corp.
 19   v. Stephens, 1989 WL 147557, at *12 (E.D. Pa. Dec. 6, 1989)), the value of the brand
 20   a franchisee chooses to affiliate with is directly impacted by a franchisor’s ability to
 21   maintain consistency and quality. “By following the standards used by all stores in
 22   the same chain, the self-motivated franchisee profits from the expertise, goodwill, and
 23   reputation of the franchisor.” Patterson, 60 Cal. 4th at 477. A satisfactory experience
 24   in one franchised location may encourage a consumer to visit that location again, or,
 25   critically, other locations in the system that offer the same satisfactory experience.
 26   Conversely, consumer dissatisfaction with an experience at a single franchised
 27   location can be attributed to the franchise system as a whole. Therefore, the standards
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  1   a franchisor is required to establish greatly impact and help protect a franchisee’s
  2   investment and the equity it has built in its business.
  3                 21.   Franchisors, franchisees, and franchisees’ employees who work in
  4   franchised businesses all derive their own independent benefits from this unique,
  5   controlled, and codified “business relationship.” See, e.g., Cal. Corp. Code §§ 31001,
  6   31005(a)(2) & 31011.
  7                 22.   A franchisor’s controls over system standards help protect the interests
  8   of consumers. By establishing and enforcing standards for operational matters like
  9   cleanliness, food storage and preparation, and safety, franchisors not only protect the
 10   expectations of consumers who choose to patronize franchised businesses, but help
 11   ensure that guidelines are put in place to protect their health and safety.
 12                 23.   The FTC Franchise Rule is logically consistent in treating franchise
 13   relationships and employment relationships as mutually exclusive – i.e., a franchise
 14   is not an employment relationship.
 15                 24.   The California Legislature has enacted two statutes to regulate franchise
 16   relationships in this State (the California Franchise Investment Law, Cal. Corp Code
 17   § 31000 et seq. [the “CFIL”] and the California Franchise Relations Act, Cal. Bus. &
 18   Prof. Code § 20000 et seq. [the “CFRA”]). These statutes have co-existed with the
 19   Lanham Act for almost 50 years because they contain similar definitions of the
 20   “franchise” relationship and, thus, are legally compatible. Like the FTC’s Franchise
 21   Rule, these enactments repeatedly characterize franchises as “businesses” and
 22   describe the relationship created between a franchisor and a franchisee as a “business
 23   relationship.” See, e.g., Cal. Corp. Code § 31001 (disclosures are designed to give a
 24   better understanding of the parties’ “business relationship”); § 31005(a)(2) (“[t]he
 25   operation of the franchisee’s business” must be substantially associated with the
 26   franchisor’s trademark); § 31011 (franchise fee is the amount paid “for the right to
 27   enter into a business under a franchise agreement”).
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  1                 25.   California’s ABC Test, however, is irreconcilable with the federal laws
  2   that regulate franchising and the trademark license underlying all franchised
  3   businesses.
  4                 26.   As both the California Supreme Court and the Ninth Circuit Court of
  5   Appeals have held, franchisors “need the freedom to ‘impose[ ] comprehensive and
  6   meticulous standards for marketing [their] trademarked brand and operating [their]
  7   franchises in a uniform way.’” Salazar v. McDonald’s Corp., 944 F.3d 1024, 1030
  8   (9th Cir. 2019) (quoting Patterson, 60 Cal. 4th at 478). A franchisor’s “involvement
  9   in its franchises and with workers at the franchises is central to modern franchising
 10   and to the company’s ability to maintain brand standards ….” Salazar, 944 F.3d at
 11   1030.
 12                 27.   The ABC Test impermissibly impinges on the essential feature of the
 13   franchise model—control over brand-specific systems and business models. Without
 14   control, franchisors would be forced to abandon their required support and system
 15   oversight, resulting in harm to both franchisees and consumers.
 16                 28.   In “the typical arrangement, the franchisee decides who will work as his
 17   employees, and controls day-to-day operations in his store.” Patterson, 60 Cal. 4th
 18   at 490. There are “sound and legitimate reasons … to allocate local personnel issues
 19   almost exclusively to the franchisee.” Id. at 497. Because franchisees are “owner-
 20   operators who hold a personal and financial stake in the business,” a “major incentive
 21   is the franchisee’s right to hire the people who work for him, and to oversee their
 22   performance every day.” Id. One of the principal reasons people become franchisees
 23   is to become their own bosses. Whether a franchisee wishes to engage in work at a
 24   franchised business is determined by the franchisee, not the franchisor.
 25                 29.   Prong A of the ABC Test is different from Borello. In determining
 26   whether a relationship qualifies as an employment relationship, Borello requires the
 27   factfinder to weigh a number of factors; “the individual factors cannot be applied
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  1   mechanically as separate tests; they are intertwined and their weight depends often on
  2   particular combinations.” S. G. Borello & Sons, Inc. v. Dep't of Indus. Rels., 48 Cal.
  3   3d 341, 351 (1989). Under the Borello test, the fact that the parties have signed a
  4   commercial agreement that governs their relationship might be the determinative
  5   factor. Cal. Labor Code § 2775(b)(1) turns a blind eye to whether the parties have
  6   agreed upon a commercial relationship that is inconsistent with an employment
  7   relationship.
  8                 30.   Under the ABC Test, the A factor alone may be determinative.
  9   Specifically, under Prong A of the ABC Test, a person may not be classified as an
 10   independent contractor unless that person is “free from the control and direction of
 11   the hiring entity in connection with the performance of the work, both under the
 12   contract for the performance of the work and in fact.”                 Cal. Labor Code §
 13   2775(b)(1)(A) (emphasis added). Yet, under a franchise relationship, “[t]he franchisor
 14   must maintain some control over the franchisee.”                Kelton v. Stravinski, 138
 15   Cal.App.4th 941, 948 (2006). If a franchisor “must maintain some control” and an
 16   independent contractor must be “free from control,” then according to the ABC Test’s
 17   express terms, franchise relationships are necessarily employment relationships. In
 18   other words, by its express terms, Cal. Labor Code § 2775(b)(1), converts commercial
 19   franchise relationships into employment relationships, fundamentally disrupting a
 20   well-established and governmentally sanctioned form of commercial relationship that
 21   has been closely regulated by law for many years.
 22                 31.   Similarly, under Prong B of the ABC Test, a person may not be classified
 23   as an independent contractor unless that person “performs work that is outside the
 24   usual course of the hiring entity’s business.” Cal. Labor Code 2775(b)(1)(B). In the
 25   context of a franchise relationship, under California law, the operation of a
 26   franchisee’s business must be “under a marketing plan or system prescribed in
 27   substantial part by the franchisor,” and “substantially associated with the franchisor’s
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  1   trademark.” Cal. Corp. Code § 31005. (Similarly, under 16 CFR 436.1(h)(1-2) of the
  2   FTC Franchise Rule, the franchisee must “obtain the right to operate a business that
  3   is identified or associated with the franchisor’s trademark, or to offer, sell, or
  4   distribute goods, services, or commodities that are identified or associated with the
  5   franchisor’s trademark” and the franchisor must have authority to “exert a significant
  6   degree of control over the franchisee’s method of operation.”) If the franchisor’s
  7   trademark identifies the goods or services sold by the franchisee and the franchisee is
  8   operating under a plan prescribed by the franchisor, the work of the franchisee does
  9   not appear to be “outside the usual course” of the franchisor’s business.
 10                 32.   Franchisees generally enter into commercial franchise relationships so
 11   that they can operate their own businesses. The value of the brand is maintained by
 12   consistent adherence to brand standards by all businesses operated in association with
 13   the brand. A prospective franchisee generally considers association with a brand that
 14   has achieved success in a particular sector. For example, a franchisee interested in
 15   operating a restaurant that sells pizza would seek out a franchisor with a proven track
 16   record in that sector, rather than a franchisor associated with the sale of automobile
 17   mufflers. In this sense, every franchisor is necessarily in the same business as its
 18   franchisees and in peril of failing the B Prong of the ABC Test.
 19                 33.   Recently, this dissonance between the ABC Test and the franchise
 20   business model was emphasized by the United States District Court for the District of
 21   Massachusetts. In the case of Patel v. 7-Eleven, Inc., No.17-cv-11414-NMG, 2020
 22   U.S. Dist. LEXIS 165057 (Sept. 10, 2020), the district court applied Massachusetts’
 23   version of the ABC Test to a franchise relationship.              California adopted the
 24   Massachusetts’ ABC Test in Dynamex. The Patel court identified the “inherent
 25   conflict” between the FTC Franchise Rule and Massachusetts’ version of the ABC
 26   Test. The court stated that: “It cannot be the case, as plaintiffs suggest, that, in
 27   qualifying as a franchisee pursuant to the FTC’s definition, an individual necessarily
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  1   becomes an employee. In effect, such a ruling by this Court would eviscerate the
  2   franchise business model, rendering those who are regulated by the FTC Franchise
  3   Rule criminally liable for failing to classify their franchisees as employees.” Patel,
  4   2020 U.S. Dist. LEXIS 165057, at *24. These comments are in accord with the
  5   statement of the California Supreme Court in Patterson, 60 Cal. 4th at 498, that a rule
  6   that imposed liability based upon brand controls would disrupt the commercial
  7   franchise business model.
  8                 34.   As noted above, Prong A of California’s ABC Test requires that a person
  9   be “free from the control and direction of the hiring entity in connection with the
 10   performance of the work, both under the contract for the performance of the work and
 11   in fact.” Cal. Labor Code § 2775(b)(1)(A) (emphasis added). This cannot be
 12   reconciled with the FTC Franchise Rule, which defines a franchise as one in which
 13   “the franchisor will exert or has authority to exert a significant degree of control over
 14   the franchisee’s method of operation ….” Patel, 2020 U.S. Dist. LEXIS 165057, at
 15   *19 citing 16 C.F.R. § 436.1 (emphasis added). Further, franchise agreements are
 16   usually long-term agreements often for periods of ten or twenty years, where
 17   additional renewal rights and material modifications of franchise agreements are
 18   regulated under the CFIL and CFRA, so that the terms under the contract in Prong A
 19   are fixed and cannot be unilaterally changed to adapt to Cal. Labor Code § 2775(b)(1).
 20                 35.   The Lanham Act grants the owners of trademarks a right they did not
 21   have before its passage—the right to license registered trademarks. One of the three
 22   fundamental elements of a franchise is the license of a trademark. Franchisors and
 23   franchisees have relied upon their right to establish a commercial relationship
 24   centered around the licensing of a trademark. The right to license a trademark is
 25   conditioned upon the exercise of brand controls. Cal. Labor Code § 2775(b)(1)
 26   fundamentally disrupts the right to license trademarks, by invalidating commercial
 27   franchise relationships and replacing them with an arbitrary and unwarranted
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  1   employment relationship that is unwelcome to franchisors and franchisees in
  2   legitimate franchise relationships. The Lanham Act expressly “protect[s] registered
  3   marks used in such commerce from interference by State or territorial legislation.” 15
  4   U.S.C. § 1127. The ABC Test thus stands as an obstacle to the accomplishment and
  5   execution of the full purposes and objectives of Congress, impeding the express
  6   statutory right to license a trademark and sanctioning the establishment and regulation
  7   of long-term commercial franchise relationships.
  8                 36.   For these and the additional reasons set forth below, Plaintiffs seek a
  9   declaration that California’s ABC Test as applied to the relationship between
 10   franchisors and franchisees is preempted by the FTC Franchise Rule and the Lanham
 11   Act, imposes excessive burdens in violation of the Commerce Clause of the U.S.
 12   Constitution, and violates the Fifth and Fourteenth Amendments, and a corresponding
 13   injunction prohibiting Defendants from applying California’s ABC Test to the
 14   relationship between franchisors and franchisees, as well as costs and attorneys’ fees.
 15                                    JURISDICTION AND VENUE
 16                 37.   This Court has subject matter jurisdiction over this matter under 28
 17   U.S.C. §§ 1331 and 1343, in that this action arises under the Constitution and laws of
 18   the United States, including the Supremacy Clause (U.S. Const. Art. VI), the
 19   Commerce Clause (U.S. Const. Art. I), the Fifth and Fourteenth Amendments, the
 20   Lanham Act (15 U.S.C. § 1051, et seq.), the FTC Franchise Rule (16 CFR § 436.1, et
 21   seq.), and 42 U.S.C. § 1983. This Court has equitable jurisdiction to enjoin unlawful
 22   state action that is preempted by federal law. Armstrong v. Exceptional Child Ctr.,
 23   Inc., 575 U.S. 320, 324-25 (2015).
 24                 38.   This Court also has subject matter jurisdiction over this matter under 28
 25   U.S.C. § 2201 in that this is a proceeding for declaratory judgment and injunctive
 26   relief under 28 U.S.C. §§ 2201-2202, 42 U.S.C. § 1983, and the Supremacy Clause
 27   and Commerce Clause and the Fifth and Fourteenth Amendments of the United States
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  1   Constitution. This action presents an actual controversy within the Court’s
  2   jurisdiction.
  3                 39.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b).
  4   Plaintiffs’ members entered into franchise agreements that contemplate performance
  5   in this judicial district, such that a substantial part of the events giving rise to the
  6   claims occurred in this judicial district.
  7                                               PARTIES
  8                 40.   The IFA is the world’s oldest and largest organization representing the
  9   franchising industry. Since 1960, it has educated franchisors and franchisees on
 10   beneficial methods and business practices to improve the commercial franchising
 11   model. It also advocates on behalf of franchisors and franchisees. Through its
 12   educational, public-policy, and government-relations programs, it furthers the interests
 13   of the more than 733,000 franchise establishments which span over 300 different
 14   industries, support nearly 7.6 million jobs, and contribute more than $674 billion to
 15   the U.S. economy. Its members operate in all 50 states, including California.
 16                 41.   There are more than 23,000 hotels in California, many of which are
 17   operated pursuant to long-term commercial franchise agreements. Hotel owners have
 18   often made substantial investments in building or purchasing hotels and enter into
 19   franchise relationships to improve the performance of their businesses and not to
 20   obtain for hotel owners the coverage of minimum wage and other benefits accorded
 21   by law to “employees.”
 22                 42.   AAHOA is the largest hotel owners’ association in the nation. AAHOA’s
 23   more than 19,500 members own almost one in every two hotels in the United States.
 24   With billions of dollars in property assets and hundreds of thousands of employees,
 25   AAHOA’s members are core economic contributors in virtually every community.
 26   AAHOA’s mission is to advance and protect the business interests of hotel owners
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  1   through advocacy, industry leadership, professional development, member benefits,
  2   and community engagement.
  3                 43.   Supercuts Franchisee Association (“SFA”) represents over 1500 salons
  4   across the United States, including in the State of California. Founded in 1985, SFA
  5   is dedicated to enhancing the personal and professional lives of its members through
  6   education, leadership development, best practice sharing and advocacy in the
  7   franchising and salon industries. The SFA is a founding member of the Washington,
  8   D.C.-based Coalition of Franchisee Associations.
  9                 44.   The Dunkin Donuts Independent Franchise Owners Association
 10   (“DDIFO”) is an independent association of Dunkin’ franchisees located throughout
 11   the United States, including in the State of California. DDIFO has been advocating
 12   for and protecting the interests of its members since 1989. DDIFO is a founding
 13   member of the Washington, D.C.-based Coalition of Franchisee Associations and
 14   proudly supports the Dunkin’ brand and the franchise ownership business model in
 15   Washington, D.C. and in state legislatures throughout the United States.
 16                 45.   The IFA, AAHOA, SFA and the DDIFO have standing to pursue this
 17   action under both an associational/representational theory and an organizational
 18   theory.
 19                 46.   Plaintiffs have standing under the associational/representational theory
 20   because: (a) one or more of each of their members would have standing to sue in their
 21   own right; (b) the interests asserted in this litigation are germane to their purposes as
 22   associations promoting and defending the franchise business model; and (c) neither
 23   the asserted claims nor the requested relief requires their members to participate
 24   individually. See Hunt v. Washington State Apple Advertising Commission, 432 U.S.
 25   333, 373 (1977). On information and belief, the State of California has taken the
 26   position that franchisors who fail the ABC Test cannot register to sell franchises in
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  1   the State, and has threatened that it would bar one or more members of Plaintiffs from
  2   selling franchises in California.
  3                 47.   Virtually all franchise agreements state that the parties are independent
  4   contractors. Under the express language of Cal. Labor Code § 2775(b)(1), all of IFA’s
  5   members are currently subject to civil and criminal penalties for misclassification and
  6   willful misclassification. The terms of franchise relationships must be accurately
  7   disclosed to prospective franchisees before a franchise contract may be signed under
  8   the FTC rule and the California Franchise Investment Law. A franchisor does not
  9   have the unilateral right to modify the terms of a franchise agreement in California
 10   and does not have the legal right to “re-classify” a franchisee as an employee.
 11   Reclassifying a franchisee as an employee would repudiate and modify material terms
 12   of a franchise agreement in violation of California law.
 13                 48.   Generally, franchisees enter into franchise relationships so that they can
 14   run their own businesses.            Although the franchisor exercises control over the
 15   trademarks and the products and services provided with regard to such trademarks,
 16   the franchisee has general control over the business operation, and selecting,
 17   supervising, compensating, scheduling and hiring and firing of all employees. This
 18   general control over employees of the franchised business includes determining the
 19   work done by the owner of the franchise business. The franchisee also retains all of
 20   the profits from the operation of the branded business. The right of AAHOA’s, SFA’s
 21   and DDIFO’s members to control their own relationships with their own employees
 22   is also disrupted by the express language in Cal. Labor Code § 2775(b)(1). Under
 23   Cal. Labor Code § 2860, which Section 2775(b)(1) would make applicable to
 24   franchisees under its express language, “everything which an employee acquires by
 25   virtue of his employment, except the compensation which is due to him from his
 26   employer, belongs to the employer…” AAHOA’s, SFA’s and DDIFO’s members are
 27   currently at risk of losing the benefits of ownership of a franchise, in light of Cal.
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  1   Labor Code § 2775(b)(1) and 2860, in favor of the far less advantageous benefits of
  2   an unwanted employment relationship.
  3                 49.   Cal. Labor Code § 2775(b)(1) has disrupted ongoing commercial
  4   franchise relationships in the state of California so that both franchisors and
  5   franchisees must operate with uncertainty as to their rights and obligations toward one
  6   another if the employment relationship is forced upon them by operation of law.
  7                 50.   Plaintiffs also have standing under the organizational theory because: (a)
  8   the application of the ABC Test to their members frustrates their organizational
  9   missions; and (b) has resulted in the diversion of Plaintiffs’ resources to combat the
 10   application of the ABC Test. See Havens Realty Corp. v. Coleman, 455 U.S. 363, 379
 11   (1982).
 12                 51.   Plaintiffs’ members are suffering actual injuries in fact, including,
 13   without limitation, an invasion of a legally protected interest that is concrete and
 14   particularized.         Among other injuries, California’s ABC Test causes Plaintiffs’
 15   members to bear legal, administrative, and operating costs to address the impact of
 16   the ABC Test on their franchise systems and the interference with their contractual
 17   relations.
 18                 52.   Defendant State of California is a sovereign state.
 19                 53.   Defendant Matthew Rodriquez is the acting Attorney General of
 20   California and is charged with enforcing and defending all state laws, including the
 21   California Labor Code and California’s wage orders. California’s wage orders are
 22   constitutionally authorized, quasi-legislative regulations that have the force of law.
 23   See Cal. Const., art. XIV, § 1; Cal. Labor Code §§ 1173, 1178, 1178.5, 1182, 1185;
 24   Industrial Welfare Comm’n v. Superior Court, 27 Cal. 3d 690, 700-703 (1980).
 25   Because this action challenges the constitutional validity of the wage orders and the
 26   Labor Code as authoritatively interpreted by the California Supreme Court (see Auto
 27   Equity Sales, Inc. v. Superior Court of Santa Clara County, 57 Cal. 2d 450, 454-5
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  1   (1962) (“The decisions of this court are binding upon and must be followed by all the
  2   state courts of California”), the Attorney General is an appropriate party to defend this
  3   action. See Cal. Gov’t Code § 12510 et seq.
  4                 54.   Defendant Julie Su is the Secretary of the California Labor and
  5   Workforce Development Agency. The Labor and Workforce Agency is an executive
  6   branch agency overseeing the Department of Industrial Relations and its Divisions,
  7   including the Division of Labor Standards Enforcement and the Industrial Welfare
  8   Commission, the Employment Development Department, and the California
  9   Unemployment Insurance Appeals Board. See Cal. Gov’t Code § 12813.
 10                 55.   Defendant Katie Hagen is the Director of the Department of Industrial
 11   Relations, an executive agency in California that is charged with defending,
 12   amending, and republishing California’s Wage Orders.8 See Cal. Labor Code § 1182.
 13                 56.   Defendant Lilia Garcia-Brower is the Labor Commissioner of the
 14   California Department of Industrial Relations, which is a department of the California
 15   Labor and Workforce Development Agency. The Office of the Labor Commissioner
 16   (also known as the State “Division of Labor Standards Enforcement,” or “DLSE”) is
 17   specifically empowered by the Legislature to interpret and enforce the Industrial
 18   Welfare Commission (“IWC”) Wage Orders. See Cal. Labor Code §§ 61 and 1193.5.
 19   The DLSE investigates complaints and takes enforcement actions against companies,
 20   seeking to impose penalties on the basis that the company has misclassified
 21   employees as independent contractors. Enforcement actions taken by the DLSE
 22   include audits of payroll records, collection of unpaid wages, and issuing citations for
 23   violations of any applicable wage order and Labor Code provisions. The DLSE also
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            The Industrial Welfare Commission, a five-member commission within the
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      Department of Industrial Relations (Cal. Labor Code § 70), is charged by statute with
 26   promulgating wage orders for various industries. Cal. Labor Code § 517. Although
      the IWC was defunded by the Legislature effective July 1, 2004, its wage orders
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      remain in effect. Bearden v. U.S. Borax, Inc., 138 Cal. App. 4th 429, 434 (2006).
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  1   adjudicates wage claims, pursuant to California Labor Code §§ 96 and 98, on behalf
  2   of franchisees who file claims contending that they are employees misclassified as
  3   independent contractors.
  4                 57.   Defendant Patrick Henning is the Director of the Employment
  5   Development Department. The Employment Development Department is specifically
  6   empowered by the Legislature to interpret and enforce the Unemployment Insurance
  7   Code. See Unemployment Ins. Code § 317.
  8                 58.   Defendants Rodriquez, Su, Hagen, Garcia-Bower, and Henning are sued
  9   in their official capacities as representatives of California and as the officials
 10   responsible for enforcing California’s ABC Test.
 11                                      The Nature Of Franchising
 12                 59.   Until the Lanham Act was passed in 1946, licensing a trademark was
 13   deemed a deceptive trade practice. Once the Act was passed, a trademark could only
 14   be licensed as long as the licensor “sufficiently policed and inspected its licensees’
 15   operations to guarantee the quality of the products they sold under its trademarks to
 16   the public.” Dawn Donut, 267 F.2d at 367.
 17                 60.   The establishment of the right to license a trademark created the modern
 18   franchise business model and has fueled the explosive growth of franchising over the
 19   last seven decades. That business model and the “contractual arrangement [that
 20   underlies all franchised businesses] benefits both parties.” Patterson, 60 Cal. 4th at
 21   477.
 22                 61.   On the franchisor’s side, the franchisor has the legal right under the
 23   Lanham Act to license its trademark and its successful methods of conducting
 24   business in association with the trademark, as long as it complies with state and
 25   federal laws regulating the offer and sale of franchises. In this way, franchising allows
 26   franchisors to focus on the development of the know-how they license to their
 27   franchisees, who pay royalties and fees for the right to use this know-how and “the
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  1   right to sell products or services under the franchisor’s name and trademark.”
  2   Patterson, 60 Cal. 4th at 489.
  3                 62.   On the franchisee’s side, the franchisee acquires the right to associate a
  4   business with an established trademark, obtains valuable know-how about the
  5   franchisor’s methods of operation, marketing plans, recipes, trade secrets, sources,
  6   and brand standards.
  7                 63.    To ensure a consistent customer experience associated with a licensed
  8   trademark, it is critical that brand standards are consistently enforced. In a franchise
  9   relationship, the controls necessary to establish and preserve brand consistency are
 10   often extensive to ensure that customers receive all of the elements associated with
 11   the licensed trademark.
 12                 64.   The consistency of a system’s operations, service, and product quality
 13   attracts customers and induces loyalty; customers become loyal if the experiences
 14   they enjoy at diverse units of these chains routinely meet their expectations. Consumer
 15   dissatisfaction at a single franchised location may be wrongfully attributed to the
 16   entire system, thereby damaging the value of a franchisee’s business, the goodwill
 17   associated with the franchisor’s brand, and the health of a franchise system as a whole.
 18                 65.   Franchise agreements are usually long-term agreements, often with
 19   terms of ten or twenty years and often with renewal rights. Under California
 20   Corporations Code § 31125, it is generally unlawful to solicit the material
 21   modification of an existing franchise relationship.
 22                 66.   For these reasons, the California Supreme Court has recognized that
 23   “[t]he systemwide standards and controls [which franchisors establish] provide a
 24   means of protecting the trademarked brand at great distances.” Patterson, 60 Cal. 4th
 25   at 490.
 26                 67.   In addition, franchisors offer their franchisees access to a tested
 27   operational system. As the California Supreme Court has observed, in addition to a
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  1   license to use the franchisor’s trademark, a franchisee “also acquires a business plan,
  2   which the franchisor has crafted for all of its stores. This business plan requires the
  3   franchisee to follow a system of standards and procedures. A long list of marketing,
  4   production, operational, and administrative areas is typically involved. The
  5   franchisor’s system can take the form of printed manuals, training programs,
  6   advertising services, and managerial support, among other things.” Patterson, 60 Cal.
  7   4th at 489-90 (emphasis omitted).
  8                 68.   Access to a franchisor’s system creates significant operational
  9   efficiencies which are intended to reduce franchisee financial risks because, instead
 10   of having to create an entirely new business from the ground up, a franchisee has
 11   access to an established brand and business system and can trade on the consumer
 12   goodwill that the brand has generated as a result of the “control over the franchisees’
 13   method of operation” exercised by the franchisor.
 14                 69.   Notwithstanding the franchisor’s establishment of a detailed operational
 15   system, the franchisee “retains autonomy as a manager and employer.” Patterson, 60
 16   Cal. 4th at 478. “It is the franchisee who implements the operational standards on a
 17   day-to-day basis, hires and fires store employees, and regulates workplace behavior.”
 18   Id. In fact, franchisees retain complete control over the employees they choose to hire
 19   in their franchises.
 20                 70.   Indeed, franchisees do not embark on ownership and operation of
 21   franchised businesses as an “employee” of the franchisor.              Quite the contrary,
 22   franchisees obtain an independent business for their own benefit and for the benefit
 23   of the brand which receives support from franchisors that is not available in ostensibly
 24   comparable independent business ventures, subject to the aforesaid brand controls and
 25   applicable contract provisions.
 26                 71.   Virtually all franchise agreements allocate complete power of hiring,
 27   scheduling, supervising and firing workers at the franchised business to the
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  1   franchisee. It would be confusing and fundamentally disruptive to the commercial
  2   franchise business model if the contradictory rights and obligations of an employment
  3   relationship were imposed by operation of law upon the parties. Franchisees do not
  4   want franchisors to tell them if and when they must work as employees and
  5   franchisors would breach their franchise agreements if they exercised such
  6   powers. This is why franchisor and franchisee interests are aligned in seeking relief
  7   in this action.
  8                                         Regulation of Franchising
  9                 72.   Franchise arrangements are heavily regulated, both at the state and
 10   federal level. Likewise, both state and federal law define what it means to be a
 11   “franchise.”
 12                 73.   Under both state and federal law, control is an essential element of all
 13   franchised businesses.
 14                 74.   First, control is an element of the definition of “franchise” under federal
 15   law. In this way, the FTC Franchise Rule defines which relationships may be
 16   considered “franchises.” If a relationship does not satisfy this definition, then, absent
 17   an otherwise applicable state law, prospective franchisees, including members of
 18   Plaintiffs, would not be entitled to the extensive pre-sale disclosures which the FTC
 19   Franchise Rule requires that a franchisor make.
 20                 75.   Under that Rule, a franchise is defined as “any continuing commercial
 21   relationship or arrangement, whatever it may be called, in which the terms of the offer
 22   or contract specify, or the franchise seller promises or represents, orally or in writing,
 23   that:
 24                       (1)    The franchisee will obtain the right to operate a business that is
 25                 identified or associated with the franchisor’s trademark, or to offer, sell, or
 26                 distribute goods, services, or commodities that are identified or associated with
 27                 the franchisor's trademark;
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  1                        (2)   The franchisor will exert or has authority to exert a significant
  2                 degree of control over the franchisee’s method of operation, or provide
  3                 significant assistance in the franchisee's method of operation; and
  4                        (3)   As a condition of obtaining or commencing operation of the
  5                 franchise, the franchisee makes a required payment or commits to make a
  6                 required payment to the franchisor or its affiliate.
  7   FTC Franchise Rule, 16 C.F.R. § 436.1(h) (emphasis added).
  8                 76.    The same concept is reflected in the state statute which regulates the sale
  9   of franchises in this State. The CFIL defines a “franchise” as a contract or agreement,
 10   either expressed or implied, whether oral or written, between two or more persons by
 11   which:
 12                        (1)   A franchisee is granted the right to engage in the business of
 13                 offering, selling or distributing goods or services under a marketing plan or
 14                 system prescribed in substantial part by a franchisor; and,
 15                        (2)   The operation of the franchisee’s business pursuant to such plan
 16                 or system is substantially associated with the franchisor’s trademark, service
 17                 mark, trade name, logotype, advertising or other commercial symbol
 18                 designating the franchisor or its affiliate; and
 19                        (3)   The franchisee is required to pay, directly or indirectly, a franchise
 20                 fee.
 21   Cal. Corp. Code § 31005(a) (emphasis added).
 22                 77.    In fact, according to a release issued by the California Department of
 23   Financial Protection and Innovation, the agency responsible for regulating
 24   franchises, (Commissioner’s Release 3-F, available at https://dfpi.ca.gov/
 25   commissioners-release-3-f/), “[i]f no marketing plan or system is prescribed and the
 26   franchisee is left entirely free to operate the business according to the franchisee’s
 27   own marketing plan or system, the agreement is not a franchise.”
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  1                 78.   Second, for a business relationship to constitute a “franchise” under the
  2   FTC Franchise Rule, the franchisee must obtain the right to use the franchisor’s
  3   trademark or service mark. The Lanham Act, in turn, obligates a licensor to exercise
  4   control over the use of its trademark(s). The Lanham Act allows the use of a
  5   trademark by someone other than the owner only when the owner exercises sufficient
  6   control over the nature and quality of the goods or services sold under the trademark
  7   of the other. The California Supreme Court and the Ninth Circuit Court of Appeals,
  8   in fact, have both recognized that a franchisor must have the freedom to “impose[]
  9   comprehensive and meticulous standards for marketing its trademarked brand and
 10   operating its franchises in a uniform way.” Patterson, 60 Cal. 4th at 478; accord
 11   Salazar, 939 F.3d at 1030.
 12                 79.   The control over the methods, systems, and processes of the business that
 13   licensors are required to exercise over the use of their trademarks benefits not just
 14   franchisors, but consumers, who rightly assume that goods and services provided
 15   under the same mark should carry the same level of quality. Such control also benefits
 16   franchisees, who profit from the reputation and goodwill attached to the marks they
 17   have been licensed to use.
 18                                         California’s ABC Test
 19                 80.   In April of 2018, the California Supreme Court issued its opinion in
 20   Dynamex Operations W. Inc v. Superior Court, 4 Cal. 5th 903 (2018). Dynamex
 21   adopted a new test – the “ABC Test” – for determining whether a worker is an
 22   employee or independent contractor for purposes of the Wage Orders of the Industrial
 23   Welfare Commission, 8 Cal. Code Regs. § 11000 et seq.
 24                 81.   Under the ABC Test, a worker is properly considered an independent
 25   contractor to whom a Wage Order does not apply only if the hiring entity establishes
 26   each of the following three criteria:
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  1                       (A)    that the worker is free from the control and direction of the hirer
  2                 in connection with the performance of the work, both under the contract for the
  3                 performance of such work and in fact;
  4                       (B)    that the worker performs work that is outside the usual course of
  5                 the hiring entity’s business; and
  6                       (C)    that the worker is customarily engaged in an independently
  7                 established trade, occupation, or business of the same nature as the work
  8                 performed for the hiring entity.
  9   Dynamex, 4 Cal. 5th at 916-917.
 10                 82.   On September 11, 2019, the California Legislature passed AB-5, which,
 11   among other things, was intended to “codify the decision of the California Supreme
 12   Court in Dynamex and ... clarify the decision’s application in state law.” Cal. Labor
 13   Code § 2750.3, repealed by Stats.2020, c.38 (A.B. 2257). The law, which was signed
 14   by the Governor on or about September 18, 2019, makes the ABC Test applicable to
 15   the provisions of the Labor Code, the Unemployment Insurance Code, and the Wage
 16   Orders of the Industrial Welfare Commission.
 17                 83.   Under AB-5: “[A] person providing labor or services for remuneration
 18   shall be considered an employee rather than an independent contractor unless the
 19   hiring entity demonstrates that all of the following conditions are satisfied:
 20                       (A)    The person is free from the control and direction of the hiring
 21                 entity in connection with the performance of the work, both under the contract
 22                 for the performance of the work and in fact;
 23                       (B)    The person performs work that is outside the usual course of the
 24                 hiring entity’s business; and
 25                       (C)    The person is customarily engaged in an independently
 26                 established trade, occupation, or business of the same nature as that involved
 27                 in the work performed.
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  1                 84.   AB-5 took effect on January 1, 2020.
  2                 85.   On September 4, 2020, the Governor signed AB-2257, which revised and
  3   recast the provisions of AB-5 and created certain exemptions. Under AB-2257, the
  4   ABC Test applies to provisions of the Labor Code, the Unemployment Insurance
  5   Code, and the Wage Orders of the Industrial Welfare Commission. AB-2257 took
  6   immediate effect on September 4, 2020.
  7                  The Purposes of AB-5 Are Not Served by Applying it to Franchises
  8                 86.   AB-5’s stated intent is to address the “harm to misclassified workers who
  9   lose significant workplace protections, the unfairness to employers who must compete
 10   with companies that misclassify, and the loss to the state of needed revenue from
 11   companies that use misclassification to avoid obligations such as payment of payroll
 12   taxes, payment of premiums for workers’ compensation, Social Security,
 13   unemployment, and disability insurance.” AB-5, § 1(b).
 14                 87.   The California Legislature enacted the ABC Test in order “to ensure
 15   workers who are currently exploited by being misclassified as independent
 16   contractors instead of recognized as employees have the basic rights and protections
 17   they deserve under the law…. By codifying the California Supreme Court’s landmark,
 18   unanimous Dynamex decision, this act restores these important protections to
 19   potentially several million workers who have been denied these basic workplace
 20   rights that all employees are entitled to under the law.” AB-5, § 1(e).
 21                 88.   The franchise relationship is properly outside the ambit of California’s
 22   ABC Test, which was implemented to ensure that workers who should properly be
 23   classified as employees have access to, among other things, workers compensation
 24   and unemployment benefits. These kinds of employee benefits are not appropriate
 25   for franchisees who, by definition, are owners granted the “right to operate a business”
 26   (16 CFR 336.1(h)(1)). Instead, as independent business owners, franchisees manage
 27   the operation of their businesses, control costs, hire, fire and supervise workers, keep
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  1   their businesses’ profits, have the right to sell their businesses, can access tax benefits
  2   like business-related deductions, and are eligible for programs for business owners,
  3   like the Paycheck Protection Program, that employees cannot access. Franchise
  4   agreements typically specify that franchisees are responsible for their own
  5   employment decisions and give franchisees the day-to-day control necessary to
  6   operate their individual businesses, subject to limited controls designed to protect the
  7   brand and consumer goodwill. Unlike employees, franchisees build equity in their
  8   businesses and benefit from that equity when franchisees sell their businesses.
  9                 89.   Because franchisees retain general control over the hiring, supervising
 10   and scheduling of any workers hired by their businesses, they are already required by
 11   law to pay appropriate payroll and withholding taxes on behalf of their employees,
 12   furnish them with workers’ compensation insurance, and otherwise comply with wage
 13   and hour and other employee protections in accordance with state law and federal law.
 14   As the California Supreme Court has noted, the franchise sector already generates
 15   “billions of dollars” of payroll, and provides jobs to “millions of people” employed
 16   by franchisees. Patterson, 60 Cal. 4th at 489.
 17     When Applied to Franchises, California’s ABC Test is Preempted by the FTC
 18                                            Franchise Rule
 19                 90.   The FTC Franchise Rule authorizes and regulates the sale of franchises.
 20                 91.   Under the FTC Franchise Rule, franchise relationships and employment
 21   relationships are mutually exclusive – i.e. a franchise is not an employment
 22   relationship and an employment relationship is not a franchise. The FTC Franchise
 23   Rule Compliance Guide states that employment relationships “are excluded from
 24   coverage.” See https://www.ftc.gov/system/files/documents/plain-language/bus70-
 25   franchise-rule-compliance-guide.pdf. As long ago as 1978, in the Statement of Basis
 26   and Purpose Relating to Disclosure Requirements and Prohibitions Concerning
 27   Franchising and Business Opportunity Ventures, 43 Fed. Reg. 59614, 59623, the FTC
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  1   drew a distinction between employees and franchisees: “The popularity of franchising
  2   is, to a large extent, the result of the nature of franchising, a bringing together of
  3   persons who desire to be their own bosses with those who have an accepted product
  4   or a proven operating procedure and who have a need for expansion of capital and
  5   new management talent. Thus, franchising allows a firm to expand more rapidly than
  6   could be expected through internal growth, since it is designed to allow individuals to
  7   have more autonomy than mere employees while working at the same time with a
  8   profit incentive.” Cal. Labor Code § 2775(b)(1) disrupts and subverts the franchise
  9   relationship sanctioned by the FTC Franchise Rule by converting it into an
 10   employment relationship by operation of law, thereby impermissibly taking the
 11   relationship out of the purview of the FTC Franchise Rule (because employment
 12   relationships are not covered by the FTC Franchise Rule).
 13                 92.   By its express terms, the “A” Prong of California’s ABC Test stands as
 14   an obstacle to the accomplishment and execution of the full purposes and objectives
 15   of Congress, including sanctioning and regulating the sale of non-employment
 16   relationships based upon the licensing of trademarks and meeting the definition of a
 17   franchise relationship.
 18                 93.   Under Prong B of the ABC Test, a person may not be classified as an
 19   independent contractor unless that person “performs work that is outside the usual
 20   course of the hiring entity’s business.” Cal. Labor Code § 2775(b)(1)(B). By
 21   definition, all franchisees are granted the right to operate a business that is identified
 22   or associated with the franchisor’s trademark. 16 C.F.R. 436.1(h).
 23                 94.   If interpreted in accordance with its express terms, California’s ABC Test
 24   removes all California franchises from the purview of the FTC Franchise Rule by
 25   operation of law because the FTC Franchise Rule does not apply to employment
 26   relationships. It therefore stands as an obstacle to the accomplishment and execution
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  1   of the full purposes and objectives of Congress, including the authorization and
  2   regulation of the sale of franchises.
  3            When Applied to Franchises, California’s ABC Test is Preempted by the
  4                                             Lanham Act
  5                 95.   One purpose and objective of the Lanham Act is to protect a trademark
  6   owner’s investment in the trademark. The Act specifically provides that “[t]he intent
  7   of this chapter is to regulate commerce within the control of Congress by making
  8   actionable the deceptive and misleading use of marks in such commerce; to protect
  9   registered marks used in such commerce from interference by State, or territorial
 10   legislation; to protect persons engaged in such commerce against unfair competition;
 11   to prevent fraud and deception in such commerce by the use of reproductions, copies,
 12   counterfeits, or colorable imitations of registered marks; and to provide rights and
 13   remedies stipulated by treaties and conventions respecting trademarks, trade names,
 14   and unfair competition entered into between the United States and foreign nations.”
 15   15 U.S.C. § 1127.
 16                 96.   The Lanham Act established a statutory right to license the trademark,
 17   so long as the trademark owner maintains control over the quality of the goods and
 18   services sold under the trademark by the licensee. Franchising is one such form of
 19   licensing.
 20                 97.   Congress expressed its intent to regulate Commerce in the Lanham Act,
 21   specifically creating a statutory right to license a trademark, as long as there is control
 22   over the goods or services associated with the licensed mark. The Lanham Act
 23   expressly “protect[s] registered marks used in such commerce from interference by
 24   State, or territorial legislation.” 15 U.S.C. § 1127.
 25                 98.   California’s ABC Test is preempted with respect to the relationship
 26   between franchisors and franchisees because it “stand[s] as an obstacle to the
 27   accomplishment and execution of the full purposes and objectives of Congress”
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  1   (Hillman v. Maretta, 569 U.S. 483, 489 (2013)) including, without limitation, the
  2   protection of a trademark owner’s investment in its trademark, its right to license the
  3   use of that mark, and its right and obligation to control the use of the mark.
  4                 99.   Franchising is fundamentally incompatible with the obligations that
  5   would be triggered if franchisees were deemed employees of franchisors under
  6   California’s ABC Test. For example, all franchise systems contemplate the franchisee
  7   will retain the profits and bear the losses of its own business. However, the California
  8   Labor Code requires employers to indemnify their employees for all necessary
  9   expenditures or losses incurred by the employee in direct consequence of the
 10   discharge of his or her duties, meaning the franchisor (at least arguably) would need
 11   to bear the franchisee’s losses and pay all business expenses. Most franchise systems
 12   require franchisees to pay the franchisor an initial franchise fee and/or ongoing royalty
 13   fees in return for the rights and support that the franchisor provides to the franchisee.
 14   However, the California Labor Code prohibits an employer from compelling any
 15   employee to patronize his employer in the purchase of anything of value, disrupting
 16   the franchise commercial business model. Under the FTC Franchise Rule, the CFIL,
 17   and the CFRA, there is no franchise relationship unless the franchisee pays a franchise
 18   fee. If a franchisee is transmuted into an employee by operation of law under Cal.
 19   Labor Code § 2775(b)(1), it would be unlawful to establish a franchise relationship in
 20   California. Franchising already accounts for “billions of dollars” of payroll, and
 21   provides jobs to “millions of people” employed by franchisees. Patterson, 60 Cal.
 22   4th at 489. Franchising is not a viable commercial business model if the franchisor
 23   must bear all the franchisee’s losses and expenses and cannot charge any fees to the
 24   franchisee.
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  1       When Applied to Franchises, California’s ABC Test Unreasonably Burdens,
  2        Disrupts, and Threatens To Destroy the Franchise Model in Violation of the
  3                                          Commerce Clause
  4                 100. Throughout the United States, the commercial franchise relationship
  5   generates “trillions of dollars in total sales” and “billions of dollars” of payroll, and
  6   provides jobs to “millions of people” employed by franchisees. Patterson, 60 Cal.
  7   4th at 489.
  8                 101. State regulations like Cal. Labor Code § 2775(b)(1) violate the
  9   Commerce Clause of the United States Constitution if they place a substantial burden
 10   on interstate commerce that is “clearly excessive in relation to the putative local
 11   benefits.” Pike v. Bruce Church, Inc., 397 U.S. 137, 142 (1970).
 12                 102. When applied in accordance with its express terms, the ABC Test in Cal.
 13   Labor Code § 2775(b)(1) unreasonably burdens, disrupts and threatens to destroy the
 14   commercial franchise relationship in California. The burdens imposed on franchise
 15   relationships are clearly excessive in relation to the state’s interest in protecting
 16   employees.
 17                 103. Cal. Labor Code § 226.8 makes it unlawful to make any deductions from
 18   “compensation, for any purpose, including for goods, materials, space rental,
 19   services….”
 20                 104. Cal. Labor Code § 2802 obligates an “employer” to reimburse an
 21   “employee” for all “expenses and losses.” Under Cal. Labor Code § 226.8(b), there
 22   is a fine of not less than $5,000 per violation. If the franchise relationship is an
 23   employment relationship, franchisors are in direct and imminent danger of being
 24   required to pay for all expenses and losses of a franchised business and for statutory
 25   penalties.
 26                 105. Cal. Labor Code § 2860 provides: “Everything which an employee
 27   acquires by virtue of his employment, except the compensation which is due to him
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  1   from his employer, belongs to the employer….” Application of this provision to a
  2   commercial franchise relationship would be disruptive because it suggests that the
  3   goodwill of a franchise owned by a franchisee belongs to the franchisor.
  4                 106. Employers are obligated to provide wage statements to “employees”
  5   under Cal. Labor Code § 226. The statement must include total hours worked,
  6   including an hourly rate. Anyone “who knowingly and intentionally participates or
  7   aids in the violation of any provision of Section 226 is guilty of a misdemeanor” and
  8   is subject to fines and imprisonment not to exceed one year. Cal. Labor Code §
  9   226.6.9 But franchisors are contractually barred from scheduling the hours or setting
 10   the rate of compensation for any worker at a franchised location, including the
 11   franchisee.
 12                 107. Arbitration is commonly used to resolve franchise disputes. Business &
 13   Professions Code § 20040 expressly allows for pre-dispute arbitration agreements in
 14   franchise relationships, as long as specific standards of fairness have been
 15   met.               Under certain circumstances, an employer, however, may not require an
 16   employee to sign an arbitration agreement. See Cal. Labor Code § 432.6. It is thus
 17   uncertain whether it is lawful for a franchisor to include an arbitration provision in a
 18   franchise agreement or a renewal franchise.
 19                 108. Cal. Labor Code § 226.8 makes it unlawful to wilfully classify an
 20   individual as an independent contractor. Virtually all franchise agreements
 21   characterize franchisees as independent contractors. Under Sections 23 and 433 of
 22   the Labor Code, anyone violating this law is subject to criminal sanctions, including
 23   “imprisonment in a county jail, not exceeding six months, or . . . a fine not exceeding
 24   one thousand dollars ($1,000), or both.”
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      9
            Violations of certain other provisions of the Labor Code also constitute
 27   misdemeanors or different criminal offenses and subject violators to financial
      penalties. See, e.g., Cal. Labor Code §§ 206.5, 216, 225.
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  1                 109. Under Cal. Labor Code § 232.5, no employer or manger “shall require
  2   any employee or applicant for employment to agree, in writing, to any term or
  3   condition which is known by such employer, or agent, manager, superintendent, or
  4   officer thereof to be prohibited by law.” Franchise agreements generally allocate
  5   commercial obligations between the parties in a manner that would likely violate the
  6   Labor Code if franchise relationships are converted into employment relationships by
  7   operation of law.
  8                 110. Franchisors cannot make everyday business decisions fundamental to
  9   their businesses if they are obligated to comply with contradictory obligations
 10   imposed by the Labor Code. Whether or not there is a threatened action against a
 11   franchisor, franchisors are unable to manage their businesses until a court determines
 12   that the ABC Test is not the right test for franchise relationships.
 13                 111. When applied in accordance with its express terms, the ABC Test in
 14   Cal. Labor Code § 2775(b)(1) presents franchisors with a Hobson’s choice: either
 15   ignore the contractual arrangements with franchisees in order to comply with the
 16   various California Labor Code requirements applicable to employers, fail to comply
 17   with those requirements (and do so at the peril of potential civil liability, financial
 18   penalties, and criminal liability), or leave the California marketplace altogether.
 19                 112. When applied in accordance with its express terms, the ABC Test in
 20   Cal. Labor Code § 2775(b)(1) imposes a substantial barrier to interstate and foreign
 21   commerce and disrupts a form of business relationship expressly enabled and
 22   allowed by federal law. There are already franchise companies that are unwilling to
 23   enter into or remain in the California market due to the uncertainty and disruption
 24   caused by the overlay of employment rights and obligations over franchise
 25   relationships and may close off the California market to a large swath of franchisors
 26   who rely on franchisees to maintain their brand and to franchisees for whom the
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  1   franchise model provides the most-desirable means by which to own and operate
  2   their own business.
  3                 113. The burdens imposed by application of the ABC Test to franchises
  4   clearly exceed any legitimate local benefit because there has never been any showing
  5   that franchisees who voluntarily enter into commercial franchise relationships are in
  6   any need of protection as to workers’ compensation, minimum wage and other
  7   employment benefits under California law.
  8
                                        FIRST CLAIM FOR RELIEF
  9
                                 Declaratory Relief (28 U.S.C. section 2201)
 10
                    114. Plaintiffs incorporate by reference Paragraphs 1 through 112 of their
 11
      Complaint, inclusive, as and for this Paragraph 113 as if fully set forth herein.
 12
                    115. Under the Supremacy Clause of the U.S. Constitution, Plaintiffs’
 13
      members may not to be subjected to or punished under state laws that are preempted
 14
      by federal law. This Court has equitable authority to grant relief from state enactments
 15
      that are preempted by federal law. See Armstrong, 575 U.S. at 324.
 16
                    116. An actual controversy exists among the parties because Plaintiffs assert
 17
      that the application of California’s ABC Test to the relationship between franchisors
 18
      and franchisees is preempted by federal law, specifically the FTC Franchise Rule and
 19
      the Lanham Act, while Defendants assert it is not.
 20
                    117. Plaintiffs seek a declaration that the application of California’s ABC Test
 21
      to the relationship between franchisors and franchisees, as defined by the FTC
 22
      Franchise Rule, is preempted by federal law, specifically the FTC Franchise Rule and
 23
      the Lanham Act.
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  1                                  SECOND CLAIM FOR RELIEF
  2                      (Excessive Burdens in Violation of the Commerce Clause)
  3                 118. Plaintiffs incorporate by reference Paragraphs 1 through 116 of their
  4   Complaint, inclusive, as and for this Paragraph 117 as if fully set forth herein.
  5                 119. When applied to franchise relationships in accordance with its express
  6   terms, Cal. Labor Code § 2775(b)(1) violates the Commerce Clause by imposing
  7   unreasonable burdens on interstate and foreign commerce that are clearly excessive
  8   when measured against any legitimate local benefits.
  9                 120. The ABC Test in Cal. Labor Code § 2775(b)(1) substantially burdens
 10   and disrupts the franchise relationship and the interstate and international markets
 11   for it and, in fact, threatens to destroy it altogether because the ABC Test is
 12   incompatible with the franchise relationship. A rule that imposes liability upon a
 13   franchisor because of control imposed over brand standards “would disrupt the
 14   franchise relationship.” Patterson, 60 Cal. 4th at 498 (recognizing disruption from
 15   such a rule in the context of a vicarious liability claim). The ABC Test
 16   fundamentally and impermissibly disrupts long-term, ongoing franchise
 17   relationships.
 18                 121. The burdens imposed by an application of the ABC Test by its express
 19   terms clearly exceed any legitimate local benefit. The workers who work for
 20   franchisees are the employees of the franchisees and receive their wage-and-hour
 21   and other employment benefits from the franchisees who employ them. To the
 22   extent a franchisee chooses work within its own franchised business, he or she is
 23   acting within the greater context of a commercial franchise relationship, expressly
 24   sanctioned and governed by the Lanham Act, the FTC Franchise Rule, the CFIL,
 25   and the CFRA. Unless the commercial franchise relationship is a fraud, the
 26   commercial rights and obligations of the parties are allocated between the parties in
 27   the terms of their franchise agreement.
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  1                 122. Defendants are purporting to act within the scope of their authority
  2   under State law in enforcing and implementing the ABC Test.
  3                 123. Defendants are liable to Plaintiffs for proper redress under 42 U.S.C.
  4   § 1983 because the ABC Test deprives Plaintiffs and their members of the rights,
  5   privileges, and immunities secured by the United States Constitution.
  6                 124. Plaintiffs have no adequate remedy at law.
  7                                    THIRD CLAIM FOR RELIEF
  8                              Declaratory Relief (28 U.S.C. section 2201)
  9                 125. Plaintiffs incorporate by reference Paragraphs 1 through 123 of their
 10   Complaint, inclusive, as and for this Paragraph 124 as if fully set forth herein.
 11                 126. Under principles of statutory construction, statutes must be harmonized
 12   with each other.
 13                 127. Cal. Labor Code § 2775(a)(3) provides, “If a court of law rules that the
 14   three-part test in paragraph (1) [the ABC Test] cannot be applied to a particular
 15   context based on grounds other than an express exception to employment status as
 16   provided under paragraph (2), then the determination of employee or independent
 17   contractor status in that context shall instead be governed by the California Supreme
 18   Court's decision in S. G. Borello & Sons, Inc. v. Department of Industrial Relations
 19   (1989) 48 Cal.3d 341 (Borello).”
 20                 128. An actual controversy exists among the parties. Plaintiffs assert that the
 21   only way to harmonize Cal. Labor Code § 2775 with the CFIL, the CFRA, the Lanham
 22   Act and the FTC Rule is to hold that the ABC Test cannot be applied to the franchisor-
 23   franchisee relationship and that instead Borello governs. Upon information and
 24   belief, Defendants disagree.
 25                 129. Plaintiffs seek a declaration that the determination of employee or
 26   independent contractor status in the franchisor-franchisee context shall be governed
 27   by Borello.
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  1                                   FOURTH CLAIM FOR RELIEF
  2                  (Regulatory Taking Under the Fifth and Fourteenth Amendments)
  3                 130. Plaintiffs incorporate by reference Paragraphs 1 through 129 of their
  4   Complaint, inclusive, as and for this Paragraph 130, as if fully set forth herein.
  5                 131. When applied to franchise relationships in accordance with its express
  6   terms, Cal. Labor Code § 2775(b)(1) violates the Fifth and Fourteenth Amendments
  7   of the United States Constitution because California’s ABC Test constitutes a
  8   regulatory taking of franchisor and franchisee contractual rights qualifying as
  9   independent contractor relationships.
 10                 132. Franchise agreements are property subject to the Fifth and Fourteenth
 11   Amendments. The imposition of California’s ABC Test on franchise relationships
 12   materially interferes with distinct investment backed expectations of franchisors and
 13   franchisees, and imposes employment requirements where none were imposed,
 14   warranted or expected when the relationship was established: in effect, denying the
 15   benefits of a commercial contractual relationship and instead imposing employment
 16   relations and obligations. The economic impact of California’s ABC Test on franchise
 17   relationships goes too far and is thus devastating to the entire franchise industry,
 18   causing severe and substantially disproportionate liability on the franchise
 19   relationships, including retroactively, that could not have been anticipated within
 20   reasonable probability.
 21                 133. Defendants are purporting to act within the scope of their authority under
 22   State law in enforcing and implementing California’s ABC Test, including, without
 23   limitation, against putative employers by and through its administrative agencies, like
 24   the California Department of Labor (“DOL”) and California’s Employment
 25   Development Department (“EDD”), which expressly use California’s ABC Test to
 26   audit and tax putative employers and penalize those it finds in non-compliance.
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  1   California has not stated that franchising is exempt from DOL, EDD, or other
  2   administrative enforcement of the ABC Test.
  3                 134. Defendants are liable to Plaintiffs for proper redress under 42 U.S.C.
  4   § 1983 because the ABC Test deprives Plaintiffs’ members of the economically viable
  5   value of their property without due process, and the rights, privileges, and immunities
  6   secured by the United States Constitution.
  7                                    FIFTH CLAIM FOR RELIEF
  8                                          (Injunctive Relief)
  9                 135. Plaintiffs incorporate by reference Paragraphs 1 through 134 of their
 10   Complaint, inclusive, as and for this Paragraph 135, as if fully set forth herein.
 11                 136. Defendants should be preliminarily and permanently enjoined from
 12   applying California’s ABC Test to the franchise relationship.
 13                 137. Enforcement of California’s ABC Test against the franchise relationship
 14   severely and irreparably harms Plaintiffs’ members. Absent an injunction, Plaintiffs’
 15   members will suffer severe and irreparable harm, which includes, without limitation,
 16   the risk of civil liability, criminal liability, and determinations which threaten the
 17   viability and goodwill of their businesses and their constitutional rights. There is an
 18   imminent and immediate risk to all franchisors and franchisees in California because
 19   it is not possible to make every-day business decisions under the threat that the ABC
 20   Test may disrupt the franchise relationship. Further, franchisors in California are
 21   exposed to the immediate threat of civil and criminal penalties for misclassification
 22   and violation of various Labor Codes. Unlike an actual employer, no franchisor has
 23   the legal right to “re-classify” its franchisees as employees without breaching
 24   franchise agreements and violating California franchise laws.
 25                 138. As a result, the Plaintiffs and their members have no adequate remedy at
 26   law.
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  1                 139. Plaintiffs’ and their members’ injuries are preventable and redressable
  2   with appropriate injunctive relief that prevents Defendants from applying the ABC
  3   Test to the franchise relationship.
  4                 140. The balance of harms weighs in favor of the entry of injunctive relief.
  5   Defendants cannot claim an interest in the enforcement of an unconstitutional law.
  6                 141. The public interest also favors the entry of injunctive relief because the
  7   public is interested in the enforcement of constitutional rights and because
  8   franchising, and the continued viability of the franchise business model, is beneficial
  9   to the public and the California economy.
 10                                            Prayer for Relief
 11                 WHEREFORE, Plaintiffs demand judgment against Defendants as follows:
 12                 A.    A declaration that, with respect to the relationship between franchisors
 13   and franchisees, as those terms are defined by the FTC’s Franchise Rule, California’s
 14   ABC Test is preempted by federal law;
 15                 B.    A preliminary and permanent injunction prohibiting Defendants, and any
 16   division, board, or commission within such Defendants, from applying California’s
 17   ABC Test to the relationship between franchisors and franchisees;
 18                 C.    An order awarding Plaintiffs their costs and attorneys’ fees pursuant to
 19   42 U.S.C. § 1988; and
 20                 D.    Such other relief as this Court deems just and proper.
 21                                                Respectfully submitted,
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      DATED: March 26, 2021            _/s/ Karen C. Marchiano________________
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                                                              FIRST AMENDED COMPLAINT
      EAST\180232303.2
